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                  UNITED STATES DISTRICT COURT
             FOR THE SOUTHERN DISTRICT OF NEW YORK


YEHUDA KATZ,                                   )
Individually and on behalf of a class,         )
                                               )
                   Plaintiff,                  ) Case No. CV: 1:14-cv-00740-PAC
      v.                                       )    SECOND AMENDED
                                               ) COMPLAINT
                                               ) CLASS ACTION
THE DONNA KARAN COMPANY, LLC;                  ) JURY TRIAL DEMANDED
THE DONNA KARAN COMPANY                        )
STORE, LLC; DONNA KARAN                        )
INTERNATIONAL, INC.                            )
                                               )
                   Defendants.                 )

                                 INTRODUCTION
      1.     Plaintiff Yehuda Katz (“Plaintiff”), individually and on behalf of a

class defined herein, brings this action against The Donna Karan Company, LLC,

The Donna Karan Company Store, LLC and Donna Karan International,

Inc.(“Defendants”) to secure statutory damages for willful, i.e. reckless, violations

of the Fair and Accurate Credit Transactions Act (“FACTA”) amendment to the

Fair Credit Reporting Act (“FCRA”).

      2.     The operative provision of FACTA, codified at 15 U.S.C. §1681c(g),

provides that:

             No person that accepts credit cards or debit cards for the
             transaction of business shall print more than the last 5 digits of
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              the card number or the expiration date upon any receipt
              provided to the cardholder at the point of sale or transaction.

         3.   The purpose of this “truncation requirement” is to thwart identity

theft.

         4.   Despite the clear language of the statute, Defendant willfully or

recklessly printed more than the last 5 digits of the card number on a minimum of

thousands of receipts provided to cardholders at the point of sale or transaction. As

such, Plaintiff and numerous other persons who conducted business with

Defendant, each of whom paid for goods using a credit or debit card and were

provided with a violative receipt, were subjected to Defendants’ violations of §

1681c(g). As consequence, each has been uniformly burdened with an elevated risk

of identity theft, and is entitled to an award of statutory damages.

         5.   Despite years of publication, notice and near universal compliance by

other merchants, Defendants have willfully and recklessly failed to comply with

the truncation requirement. The length and scope of these violations cannot be

determined without discovery, but based on the timing and location of the

violations with respect to Plaintiff Yehuda Katz (“Plaintiff”) the scope of such

violations and the number of victims such as Plaintiff plainly meets the numerosity

requirements of Federal Rule of Civil Procedure 23(a).

         6.   Plaintiff brings this action against Defendants based on their willful

and reckless violations of 15 U.S.C. §§ 1681 et seq. and seeks statutory damages,
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attorneys’ fees, costs, punitive damages and such other relief as the Court deems

proper.

                          JURISDICTION AND VENUE

          7.   This Court has subject matter jurisdiction under 28 U.S.C. § 1331 and

 15 U.S.C. § 1681p (“FCRA”).

          8.   Venue is proper because Defendants conduct business within this

 jurisdiction, Defendants’ headquarters are in this jurisdiction and the transaction

 giving rise to this lawsuit occurred within this jurisdiction.

                                       FACTA

      9.       In 2003, FACTA was enacted by Congress and signed into law. One

of FACTA’s primary purposes was to amend the FCRA through the addition of

identity theft protections.

      10.      Congress determined that the credit card account number is the

“single most crucial piece of information a criminal would need to perpetrate

account fraud.” Vol. 154, No. 78 Cong. Rec. H3730 (May 13, 2008) (Rep.

Mahoney).

      11.      At that time, identity theft had “reached almost epidemic

proportions.” H.R. Rep. No. 108-263 at 25 (2003). Over 27 million Americans had

been victims of identity theft in the past five years, and the estimated cost to

consumers and the economy was over fifty billion dollars annually. See Federal


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Trade Commission, Identity Theft Survey Report (2003). Every year, identity theft

results in billions of dollars of loss, which has a significant effect on consumers

and the economy. 1 Further the direct costs of financial fraud, identity theft, or even

the fear of identity theft, have a powerful psychological effect on consumers, as

“36% of identity theft victims reported moderate or severe emotional distress as a

result of the incident.” Bureau of Justice Statistics, U.S. Dep’t of Justice, Victims of

Identity Theft, 2014, at 1 (Sept. 2015).

       12.    The complex dimensions of identity theft make the risk to any

particular consumer near impossible to quantify. Congress is best equipped to

evaluate and address that risk. In doing so with FACTA, Congress decided to

“require the truncation of credit and debit card account numbers on electronically

printed receipts to prevent criminals from obtaining easy access to such key

information,” and to “limit the number of opportunities for identity thieves to ‘pick

off’ key card account information.” S. Rep. No. 108-166, at pp. 3 and 13 (2003).

       13.    In enacting FACTA, Congress acted to prevent identity theft that

can occur when card holders’ private financial information, such as a card

holder’s complete credit card number, is publicly exposed on electronically

1
  See Javelin Strategy & Research, 2015 Identity Fraud: Protecting Vulnerable Populations 6, at
pp. 7, 14, available at https://www.javelinstrategy.com/file/11696/download?token=yB71qLr7.
In 2014 and 2013, respectively, approximately 12.7 million and 13.1 million consumers
experienced identity theft. (Id.) In 2010, about 7% of households had at least one member who
experienced one or more types of identity theft. Bureau of Justice Statistics, U.S. Dep’t of
Justice, Identity Theft Reported by Households, 2005-2010, at 1 (Nov. 2011).


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printed payment card receipts. See 149 Cong. Rec. H8122-02 (statement of

Rep. Shadegg) (“[T]he bill requires that anytime a transaction is made and

information is transmitted using a credit card number, that number has to be

truncated so that someone who wants to steal your identity by grabbing ahold

of your credit card number will not have the full number”); 149 Cong. Rec.

H8122-02 (statement       of Rep. Jackson-Lee) (“This bill ... will include

comprehensive identity theft ... provisions.” H.R. Conf. Rep. No. 396, 108th

Cong., 1st Sess. (2003) (statement      of Rep. Oxley) (“One of the central

elements of [the FACTA bill] was to make the new fraud prevention ...

contained in the legislation the new uniform national standards on those subject

matters. The bill was drafted in this way because identity theft is a national

concern.”

      14.    FACTA thus “requires the truncation of credit and debit card account

numbers on electronically printed receipts to prevent criminals from obtaining easy

access to such key information.” S. Rep. No. 108-166, at 3 (2003)

      15.    Congress imposed that requirement “to limit the number of

opportunities for identity thieves to ‘pick off’ key card account information,” id.at

13, based on its determination that printing more than the last five digits of a

consumer’s credit card number poses an unacceptable risk of identity theft. See,




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e.g., FACTA, Pub. L. No. 108-159, Title I, Subtitle A, 117 Stat. 1952 (including

truncation requirement in subtitle entitled “identity theft prevention.”)

      16.    In providing minimum statutory damages of $100 to $1,000 for each

violation of the truncation requirement in 15 U.S.C. § 1681n(a)(1)(A), Congress

appropriately exercised its power to elevate the specifically identified risk of harm

of having a merchant print a receipt showing any of a particular individual’s first

eleven credit card digits into a legally cognizable injury.

      17.    In FACTA, Congress specifically identified the concrete harm it

sought to alleviate (identity theft risk), determined that first eleven digits of credit

card numbers should be redacted to alleviate that risk, and extended standing to

vindicate   that   right   through    statutory   damages,     recoverable     by   the

consumer/cardholder as to each issuance of a receipt resulting from a willful, i.e.

reckless, violation of the statute. Congress has further related that injury to the

class of persons entitled to bring suit (those who are given a receipt printing

prohibited digits of their own credit card information and restricted the right to

seek damages to that class of persons only).

      18.    The truncation requirement was specifically designed to thwart

identity thieves’ ability to gain sensitive information regarding a consumer’s credit

or bank account from a receipt provided to the consumer during a point of sale




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transaction, which, through any number of ways, could fall into the hands of

someone other than the consumer.

      19.     In providing minimum statutory damages of $100 to $1,000 for each

violation of the truncation requirement in 15 U.S.C. § 1681n(a)(1)(A), Congress

appropriately exercised its power to elevate the specifically identified risk of harm

of having a merchant print a receipt showing any of a particular individual’s first

eleven credit card digits into a legally cognizable injury.

      20.    After enactment, FACTA provided three years in which to comply

with its requirements, mandating full compliance with its provisions no later than

December 4, 2006.

      21.    With respect to point of sale machines, terminals or devices that were

first put into use after January 1, 2005, 15 U.S.C. § 1681c(g)(3)(B) required

immediate compliance with the provisions of 15 U.S.C. § 1681c(g)(1).

      22.    Because a handful of large retailers did not comply with their

contractual obligations with the card companies and the straightforward

requirements of FACTA, Congress passed The Credit and Debit Card Receipt

Clarification Act of 2007 in order to make technical corrections to the definition of

willful noncompliance with respect to violations involving the printing of an




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expiration date on certain credit and debit card receipts before the date of the

enactment of this Act. 2

         23.     With respect to point of sale machines, terminals or devices that had

been in use before January 1, 2005, 15 U.S.C. § 1681c(g)(3)(B) required

immediate compliance with the provisions of 15 U.S.C. § 1681c(g)(1) on or after

December 1, 2006

         24.     On June 3, 2008, President George W. Bush signed The Credit and

Debit Card Receipt Clarification Act (Clarification Act), which amended FACTA.

The Clarification Act provides that “any person who printed an expiration date on

any receipt provided to a consumer cardholder at a point of sale or transaction

between December 4, 2004, and the date of the enactment of this subsection but

otherwise complied with the requirements of section 605(g) for such receipt shall

not be in willful noncompliance with section 605(g) by reason of printing such

expiration date on the receipt.”

         25.     Importantly, the Clarification Act did not amend FACTA to allow

publication of the expiration date of the card number. Instead, it simply provided

amnesty for certain past violators up to June 3, 2008. The Clarification Act did not

address either the truncation requirement or the right to damages for violations of




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    Source: https://www.govtrack.us/congress/bills/110/hr4008/text (Last accessed: Oct. 19, 2015).
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the truncation requirement, which have remained unchanged since the initial

enactment and effective dates of FACTA.

                      Defendant’s Prior Knowledge of FACTA

      26.    Upon information and belief, Defendants are members of various

trade groups that informed their members about the truncation requirements.

Defendants, on information and belief, received and understood such

communications.

      27.    Defendants accept Visa, MasterCard, Discover credit and debit cards

and American Express credit cards in the course of transacting business with

persons who make purchases at Defendants’ retail locations.

      28.    Banks and credit card associations (i.e. Visa, MasterCard, American

Express, Discover, etc.) have informed their merchants, such as Defendants, for

years about FACTA and it’s the truncation requirement.

      29.    VISA, MasterCard, the PCI Security Standards Council (a consortium

founded by VISA, MasterCard, Discover, American Express), companies that sell

cash registers and other devices for the processing of credit or debit card payments,

and other entities informed merchants, such as Defendants, about FACTA,

including its specific requirements concerning the truncation of credit card and

debit card numbers.




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        30.   Defendants, by the terms of the contracts they entered with Visa,

MasterCard, American Express, and/or Discover, acknowledged their awareness of

FACTA’s truncation requirements and expressly agreed to be FACTA compliant.

        31.   Visa explicitly instructed merchants, including Defendants, that a

credit or debit card number must be truncated to no more than five digits and that

the expiration date must be truncated entirely.

        32.   For example, the August 12, 2006 edition of “Rules for Visa

Merchants” (p. 62), which is distributed to and binding upon all merchants that

accept Visa cards, expressly requires that “only the last four digits of an account

number should be printed on the customer’s copy of the receipt” and “the

expiration date should not appear at all.” These statements were accompanied by a

picture of a receipt showing precisely what had to be removed. VISA required

complete compliance by July 1, 2006, five months ahead of the statutory deadline.

Defendants, on information and belief, received this and subsequent Rules from

Visa.

        33.   MasterCard has explicitly instructed merchants, including Defendants,

that a credit or debit card number must be truncated to no more than five digits and

that the expiration date must be truncated entirely.




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      34.    American Express has explicitly instructed merchants, including

Defendants, that a credit or debit card number must be truncated to no more than

five digits and that the expiration date must be truncated entirely.

      35.    Discover has explicitly instructed merchants, including Defendants,

that a credit or debit card number must be truncated to no more than five digits and

that the expiration date must be truncated entirely.

      36.    Defendants, on information and belief, received and understood such

communications.

        37. A bulletin dated June 14, 2006 issued by AllianceData, a credit card

 processor, informed its customers that under FACTA “no person that accepts

 credit cards or debt cards for the transaction of business shall print more that the

 last 5 digits of the card number . . . upon any receipt provided to the cardholder at

 the point of sale transaction.” It further stated that Visa required compliance by

 July 1, 2006 and MasterCard by April 1, 2005.

      38.    Governmental      agencies    have    informed     business,   including

Defendants, about the importance of FACTA, why the law is in place and what

business must do to be compliant or risk statutory penalties. For example, the

Federal Trade Commission issued a business alert in May 2007.

      39.    In May 2007, the Federal Trade Commission issued a business alert

entitled “Slip Showing? Federal Law Requires All Businesses to Truncate Credit


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Card Information on Receipts,” which stated: “According to the federal Fair and

Accurate Credit Transactions Act (FACTA), the electronically printed credit and

debit card receipts you give your customers must shorten – or truncate – the

account information. You may include no more than the last five digits of the card

number, and you must delete the card’s expiration date.” The FTC alert further

informed businesses that “you may include no more than the last five digits of the

[credit and debit] card number, and you must delete the [credit and debit] card’s

expiration date.”

      40.    By virtue of the matters set forth in paragraphs 26-39 above,

Defendants knew or should have known of their obligations under FACTA for

years before the FACTA violations identified in this Complaint.

        41. Despite actual knowledge of FACTA’s requirements, contractual

 requirements from credit card issuers that Defendants must be FACTA

 compliant, and notifications from credit card issuers and the federal government,

 Defendants continue to willfully disregard FACTA’s requirements and have

 continued to use cash registers or other point of sale machines or devices that

 printed receipts in violation the truncation requirement after 2006 up to and

 through the date this lawsuit was commenced.

                                   PARTIES
        42. Plaintiff, Yehuda Katz, is a resident of New York.

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         43. Defendant The Donna Karan Company, LLC is a New York limited

 liability company with an address for service of process at 240 West 40th St.,

 New York, NY 10018.

         44. Defendant The Donna Karan Company Store, LLC is a New York

 limited liability company with an address for service of process at 240 West 40th

 St., New York, NY 10018.

         45. Defendant Donna Karan International, Inc. is a Delaware corporation

 with an address for service of process of 550 Seventh Avenue, New York, NY

 10018

         46. Defendants are each a “person that accepts credit cards or debit cards

 for the transaction of business” within the meaning of FACTA.

                             CLASS ALLEGATIONS

      47.    Plaintiff brings this action on behalf of a class pursuant to Fed. R. Civ.

P. 23(a) and (b)(3).

      48.    The proposed class is defined as:

      All persons in the United States who used either a debit or credit card
      at any of Defendants’ locations and were provided an electronically
      printed receipt at the point of sale or transaction by any Defendant
      showing more than the last five digits of that person’s credit or debit
      card number for a time period beginning June 4, 2009 until the date of
      the class is certified.

      49.    The class is so numerous that joinder of all individual members in one

action would be impracticable.

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      50.    There are, on information and belief, hundreds if not thousands of

persons who meet the class definition, all of whom can be individually identified

through the use of their credit card data, or through other customer databases, such

as catalog mailing lists, kept and maintained by defendants.

      51.    Plaintiff’s claims are typical of the claims of the class members. All

are based on the same legal theories and arise from the same conduct. There are

common questions of fact and law affecting members of the class, which common

questions predominate over questions which may affect individual members.

These include the following:

             a.    Whether Defendants provided customers with a sales or
                   transaction receipts which failed to comply with the truncation
                   requirement;
             b.    Whether Defendants’ conduct was sufficiently reckless to
                   qualify as “willful” under FACTA.

             c.    The uniform amount of statutory damages to award to each
                   member of the class.
      52.    Plaintiff will fairly and adequately represent the class members.

      53.    Plaintiff has no interests that conflict with the interests of the class

members.

      54.    Plaintiff has retained counsel experienced in consumer class action

matters.

      55.    A class action is superior to other available means for the fair and

efficient adjudication of the claims of the class members.
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                                CLAIM FOR RELIEF

        56.    Plaintiff repeats all previous allegations with the same force and effect

as if fully stated herein.

        57.    In transacting their business, Defendants use numerous cash registers

and/or other machines or devices that electronically print receipts for credit card

and debit card transactions.

        58.    Plaintiff is the holder of a “VISA” bank issued credit and/or debit card

as defined under 15 U.S.C. § 1681a.

        59.    On    January 13, 2014, Plaintiff presented his credit card to make a

purchase at Defendants’ store located at 1 Premium Boulevard, Tipton Falls, New

Jersey.

        60.    On February 2, 2014, Plaintiff presented his credit card to make a

purchase at Defendants’ store located at 420 West Broadway, New York, New

York.

        61.    At the completion of each of the above purchases, Plaintiff was given

a customer copy of a computer-generated cash register receipt that published the

first six digits of Plaintiff’s credit card number. (hereinafter the “Katz Receipts”).

The Katz Receipts also published the last four digits of Plaintiff’s credit card

number.




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      62.    On information and belief, Defendants’ computer systems which

generated the Katz Receipts were programmed through hardware or software

design and setup to print the six first digits of credit card numbers on each and

every credit card receipt that Defendants’ computer systems or any of their

constituent hardware and software components generated.

      63.    The terminal which generated the first Katz Receipt on January 13,

2014, is located a “DKNY Company Store” situated in a prime location at one of

the ground level pedestrian entrances to a major shopping mall complex in Tipton

Falls, New Jersey, which includes retail operations of more than 120 other

merchants.

      64.    The terminal which generated the second Katz Receipt on February 2,

2016, was located at an extremely busy store in the Soho area, a tourist attraction

in New York City which draws extraordinarily high retail traffic, including

shoppers from around the United States.

      65.    On information and belief, the checkout terminals which generated the

Katz Receipts are each only one of several such terminals in each store.

      66.    Defendants directly operate three additional “DKNY” retail stores in

New York City, at prime high traffic locations, and at least one location selling

“Donna Karan” branded items from Defendants’ top of the line and couture brand,




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and also operate more than 50 DKNY and DKNY Company Store retail stores

throughout the United States.

      67.      Each of the two Katz Receipts, generated over one week apart at two

stores located nearly 60 miles from each other, and in two different states, printed

the exact same credit card account digits, which FACTA requires shall not be

printed.

           68. The locations and timing of Defendants’ issuance of the two Katz

 Receipts support the reasonable and plausible inferences that, a) at the time that

 the Katz Receipts were issued, many if not all cash register terminals at all of

 Defendants’ retail locations throughout the United States were deliberately

 programmed to issue customer receipts identical in all material respects to the

 Katz Receipts with respect to the failure to truncate credit card account numbers;

 2) Defendants had not deployed any available safeguards against printing receipts

 in violation of the truncation requirement – not even simple visual inspection of

 receipts at the point of sale – as a result of which 3)       receipts issued   by

 Defendants to class members, including but not limited to Mr. Katz, did not

 reflect a “merely procedural” violation of the truncation requirement, but exactly

 the reckless, i.e. willful, systematic dissemination of personal information which

 FACTA was enacted to protect from disclosure, i.e. concrete particularized harm

 which FACTA made redressable by providing a statutory damages remedy. See,


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 Spokeo v. Robbins, 136 S. Ct. 1540, 1549 (2016); Donoghue v. Bulldog Investors

 Gen. P’ship, 696 F.3d 170, 175 (2d Cir. 2012); Hammer v. Sam’s East, 754 F.3d

 492, 498-99 (8th Cir. 2014).

      69.    The number of transactions with Defendants generating illegal

receipts under FACTA can total into the tens or hundreds of thousands per year in

New York City alone, and many times that amount nationwide.

      70.    In allowing point of sale receipts for in-store transactions such as the

Katz Receipts to include digits other than the last five digits of customers’ credit

card numbers throughout their nationwide retail outlets, Defendants acted in

reckless disregard of the applicable legal standard, as to which they have been on

repeated actual notice for many years.

      71.    This, and other conduct of Defendants alleged herein, was “not only a

violation under a reasonable reading of the statute’s terms, but . . . the company

ran a risk of violating the law substantially greater than the risk associated with a

reading that was merely careless,” and was thus “willful” within the meaning of

FACTA, as established by the United States Supreme Court. Safeco Ins. Co. of

America v. Burr, 551 U.S. 47, 68 (2007).

      72.    Defendant violated 15 U.S.C. § 1681c(g)(1), which provides that:

             …no person that accepts credit cards or debit cards for the
             transaction of business shall print more than the last five
             digits of the card number or the expiration date upon any


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          receipt provided to the cardholder at the point of sale or
          transaction.

          15 U.S.C. § 1681c(g)(1) (emphasis added).

    73.   FCRA, 15 U.S.C. § 1681n, provides:

          § 1681n. Civil Liability for willful noncompliance

          (a) In general. Any person who willfully fails to comply
          with any requirement imposed under this title [15 USC
          §§ 1681 et seq.] with respect to any consumer is liable to
          that consumer in an amount equal to the sum of -

          (1) (A) any actual damages sustained by the consumer as
          a result of the failure or damages of not less than $100
          and not more than $1,000; [ ]

          (2) such amount of punitive damages as the court may
          allow; and
          (3) in the case of any successful action to enforce any
          liability under this section, the costs of the action
          together with reasonable attorney’s fees as determined by
          the court…
74. FCRA, 15 U.S.C. § 1681p, further provides:

          § 1681p. Jurisdiction of courts; limitation of actions

          An action to enforce any liability created under this title [15
          U.S.C. §1681 et seq.] may be brought in any appropriate United
          States district court, without regard to the amount in
          controversy, or in any other court of competent jurisdiction, not
          later than the earlier of –

          (1) 2 years after the date of discovery by plaintiff of the
              violation that is the basis for such liability; or
          (2) 5 years after the date on which the violation that is the basis
              for such liability occurs.

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      75. Plaintiff Katz, and each member of the class as defined, above, has

standing to sue in this court under 15 U.S.C. § 1681p, for the statutory damages of

not less than $100 nor more than $1,000 provided under 15 U.S.C. § 1681n

(a)(1)(A), on any or all of the following bases:

     a.     In FACTA, Congress created a substantive legal right for Katz and

            other consumers to receive printed receipts truncating their personal

            credit card numbers, for the declared purposed of protecting their

            financial information from the risk of disclosure and ameliorating the

            risk of identity theft, which Congress specifically identified and

            addressed through the truncation requirement;


     b.      Upon signing FACTA into law, President Bush remarked that “Slips

            of paper that most people throw away should not hold the key to their

            savings and financial secrets.” 39 Weekly Comp. Pres. Doc. 1746,

            1757 (Dec. 4, 2003). President Bush added that the government,

            through FACTA, was “act[ing] to protect individual privacy.” Id.


     c.      Defendant invaded Plaintiff’s privacy by disclosing Plaintiff’s private

            information to those of Defendant’s employees who handled the

            receipts, as well as other persons who might find the receipts in the

            trash or elsewhere.


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    d.       The substantive legal right created by Congress is closely analogous

             to recognized common law privacy interests which have traditionally

             be recognized as redressable by individuals suing for violation of their

             own rights.


    e.       Katz and putative class members each personally suffered a concrete

             harm in receiving receipts that violated this right.


    f.       Such particularized concrete injury-in-fact is redressable by a decision

             in Mr. Katz’s and class members’ favor awarding the damages

             Congress expressly mandated with respect to each of Defendants’

             violations of FACTA, here the truncation requirement.


         76. WHEREFORE, Plaintiff requests this Court to: 1) certify the class as

described herein; and 2) enter judgment in favor of Plaintiff and the class

members and against Defendants awarding:

    a.       Statutory damages of no less than $100 nor more than $1,000 per
             violation;

    b.       Pre-and post-judgment interest, attorneys’ fees and costs;

    c.       Punitive damages, in an amount to be proven at trial; and

    d.       Such other and further relief as the Court may deem proper.



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                      JURY TRIAL DEMAND

Plaintiff demands a jury on all issues so triable.

DATED this 4th day of August 2016.



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